   Case 18-22032-JAD           Doc 35  Filed 05/18/18 Entered 05/18/18 17:29:08                     Desc Main
                              IN THE UNITED STATES Page
                                      Document          1 of 19 COURT
                                                    BANKRUPTCY
                            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In Re:                                                  :     Bankruptcy No. -$'
 5(*DV'HYHORSPHQW//&                              :
                                 Debtor                 :
                                                        :     Chapter 
                                                        :
Movant                                                  :
                                                        :     Related to Document No. 
                v.                                      :
                                                        :
1R5HVSRQGHQW                                           :
Respondent (if none, then “No Respondent”)              :

                                        AMENDMENT COVER SHEET

Amendment(s) to the following petition, list(s), schedule(s), or statement(s) are transmitted herewith:

_____
 ;    Voluntary Petition - Specify reason for amendment: $GGLQJORFDWLRQRISULQFLSDODVVHWV

         Official Form 6 Schedules (Itemization of Changes Must Be Specified)
_____    Summary of Schedules
_____    Schedule A - Real Property
_____    Schedule B - Personal Property
_____    Schedule C - Property Claimed as Exempt
_____    Schedule D - Creditors holding Secured Claims
                  Check one:
                  _____ Creditor(s) added
                  _____ NO creditor(s) added
                  _____ Creditor(s) deleted
_____    Schedule E - Creditors Holding Unsecured Priority Claims
                  Check one:
                  _____ Creditor(s) added
                  _____ NO creditor(s) added
                  _____ Creditor(s) deleted
_____    Schedule F - Creditors Holding Unsecured Nonpriority Claims
                  Check one:
                  _____ Creditor(s) added
                  _____ NO creditor(s) added
                  _____ Creditor(s) deleted
_____    Schedule G - Executory Contracts and Unexpired Leases
                  Check one:
                  _____ Creditor(s) added
                  _____ NO creditor(s) added
                  _____ Creditor(s) deleted
_____    Schedule H - Codebtors
_____    Schedule I - Current Income of Individual Debtor(s)
_____    Schedule J - Current Expenditures of Individual Debtor(s)
_____    Statement of Financial Affairs
_____    Chapter 7 Individual Debtor's Statement of Intention
_____    Chapter 11 List of Equity Security Holders
_____    Chapter 11 List of Creditors Holding 20 Largest Unsecured Claims
_____    Disclosure of Compensation of Attorney for Debtor
_____    Other: ________________________________________________________________________

PAWB Local Form 6 (07/13)                                                                                 Page 1 of 2
   Case 18-22032-JAD          Doc 35
                            Filed 05/18/18 Entered 05/18/18 17:29:08                             Desc Main
                           Document      Page 2 of 19
NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES

Pursuant to Fed.R.Bankr.P. 1009(a) and Local Bankruptcy Rule 1009-1, I certify that notice of the filing of the
amendment(s) checked above has been given this date to the U.S. Trustee, the trustee in this case, and to entities
affected by the amendment as follows:


Date: _________________________
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                                                 V-DPHV'1HZHOO
                                                Attorney for Debtor(s) [or pro se Debtor(s)]

                                                _____________________________________________
                                                 -DPHV'1HZHOO
                                                (Typed Name)

                                                _____________________________________________
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                                                (Address)

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                                                (Phone No.)

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                                                List Bar I.D. and State of Admission


Note: An amended matrix of creditors added by the amendment must be submitted on disk with the amendment.
Attorneys filing electronically on the Case Management/Electronic Case Filing System may add creditors to the
case electronically.




PAWB Local Form 6 (07/13)                                                                              Page 2 of 2
          Case 18-22032-JAD                   Doc 35         Filed 05/18/18 Entered 05/18/18 17:29:08                               Desc Main
                                                            Document      Page 3 of 19
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Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          

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QXPEHU LINQRZQ )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH



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          Case 18-22032-JAD               Doc 35         Filed 05/18/18 Entered 05/18/18 17:29:08                              Desc Main
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                                                             for Bankruptcy under Chapter 11 2IILFLDO)RUP$ ZLWKWKLVIRUP

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          Case 18-22032-JAD                Doc 35       Filed 05/18/18 Entered 05/18/18 17:29:08                                 Desc Main
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           Statistical and administrative information



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Case 18-22032-JAD   Doc 35    Filed 05/18/18 Entered 05/18/18 17:29:08   Desc Main
                             Document      Page 6 of 19




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Case 18-22032-JAD        Doc 35     Filed 05/18/18 Entered 05/18/18 17:29:08              Desc Main
                                   Document      Page 7 of 19



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Case 18-22032-JAD          Doc 35     Filed 05/18/18 Entered 05/18/18 17:29:08                 Desc Main
                                     Document      Page 8 of 19



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                               :ULWWHQ&RQVHQWRIWKH6ROH0HPEHU

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        7KHXQGHUVLJQHGEHLQJWKHVROHPHPEHU WKH0HPEHU RI5(*$6'(9(/230(17

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 WKH &RPSDQ\  DFWLQJ SXUVXDQW WR 6HFWLRQ  G  RI WKH 'HODZDUH /LPLWHG /LDELOLW\

&RPSDQ\$FWDQG6HFWLRQRIWKH/LPLWHG/LDELOLW\&RPSDQ\$JUHHPHQWRIWKH&RPSDQ\KHUHE\

FRQVHQWVLQZULWLQJWRWKHDGRSWLRQRIWKHIROORZLQJUHVROXWLRQV

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        5(62/9(' WKDW WKH &RPSDQ\ VKDOO EH DQG LW KHUHE\ LV DXWKRUL]HG WR ILOH D
        YROXQWDU\ SHWLWLRQ WKH 3HWLWLRQ  IRU UHOLHI XQGHU FKDSWHU  RI WKH %DQNUXSWF\
        &RGH LQ WKH 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH :HVWHUQ 'LVWULFW RI
        3HQQV\OYDQLD RU VXFK RWKHU FRXUW DV WKH DSSURSULDWH RIILFHU RU RIILFHUV RI WKH
        &RPSDQ\VKDOOGHWHUPLQHWREHDSSURSULDWH WKH%DQNUXSWF\&RXUW DQGSHUIRUP
        DQ\DQGDOOVXFKDFWVDVDUHUHDVRQDEOHDGYLVDEOHH[SHGLHQWFRQYHQLHQWSURSHURU
        QHFHVVDU\ WR HIIHFW DQ\ RI WKH IRUHJRLQJ DQG WKH SHUIRUPDQFH RI VXFK DFWV WR
        FRQVWLWXWH WKH UHDVRQDEOHQHVV DGYLVDELOLW\ H[SHGLHQFH FRQYHQLHQFH
        DSSURSULDWHQHVVRUQHFHVVLW\WKHUHRI

        )857+(5 5(62/9(' WKDW WKH SUHVLGHQW DQG FRUSRUDWH VHFUHWDU\ RI WKH
        &RPSDQ\DQGDQ\RWKHURIILFHURIWKH&RPSDQ\WKDWWKHSUHVLGHQWPD\GHVLJQDWH
        IURPWLPHWRWLPH FROOHFWLYHO\WKH'HVLJQDWHG2IILFHUV VKDOOEHDQGHDFKRI
        WKHPDFWLQJDORQHKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGRQEHKDOIRIDQGLQWKH
        QDPHRIWKH&RPSDQ\WR D H[HFXWHDFNQRZOHGJHGHOLYHUDQGYHULI\WKH3HWLWLRQ
        DQG DOO RWKHU DQFLOODU\ GRFXPHQWV DQG FDXVH WKH 3HWLWLRQ WR EH ILOHG ZLWK WKH
        %DQNUXSWF\ &RXUW DQG PDNH RU FDXVH WR EH PDGH SULRU WR H[HFXWLRQ WKHUHRI DQ\
        PRGLILFDWLRQV WR WKH 3HWLWLRQ RU DQFLOODU\ GRFXPHQWV DV DQ\ VXFK 'HVLJQDWHG
        2IILFHULQVXFKRIILFHU VGLVFUHWLRQGHHPVQHFHVVDU\RUGHVLUDEOHWRFDUU\RXWWKH
        LQWHQWDQGDFFRPSOLVKWKHSXUSRVHVRIWKHVHUHVROXWLRQV E H[HFXWHDFNQRZOHGJH
        GHOLYHUYHULI\DQGILOHRUFDXVHWREHILOHGDOOSHWLWLRQVVFKHGXOHVVWDWHPHQWVOLVWV
        PRWLRQV DSSOLFDWLRQV DQG RWKHU SDSHUV RU GRFXPHQWV QHFHVVDU\ RU GHVLUDEOH LQ
        FRQQHFWLRQZLWKWKHIRUHJRLQJDQG F H[HFXWHDFNQRZOHGJHGHOLYHUDQGYHULI\
        DQ\DQGDOORWKHUGRFXPHQWVQHFHVVDU\RUDSSURSULDWHLQFRQQHFWLRQWKHUHZLWKRUWR
        DGPLQLVWHU WKH &RPSDQ\ V FKDSWHU  FDVH LQ VXFK IRUP RU IRUPV DV DQ\ VXFK
        'HVLJQDWHG 2IILFHU PD\ DSSURYH  7KH DFWLRQV RI DQ\ 'HVLJQDWHG 2IILFHU WDNHQ
        SXUVXDQWWRWKLVUHVROXWLRQLQFOXGLQJWKHH[HFXWLRQDFNQRZOHGJPHQWGHOLYHU\DQG
        YHULILFDWLRQRIWKH3HWLWLRQDQGDOODQFLOODU\GRFXPHQWVDQGDOORWKHUDJUHHPHQWV



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Case 18-22032-JAD          Doc 35     Filed 05/18/18 Entered 05/18/18 17:29:08                 Desc Main
                                     Document      Page 9 of 19



        FHUWLILFDWHV LQVWUXPHQWV JXDUDQWLHV QRWLFHV DQG RWKHU GRFXPHQWV VKDOO EH
        FRQFOXVLYH HYLGHQFH RI VXFK 'HVLJQDWHG 2IILFHU V DSSURYDO DQG WKH QHFHVVLW\ RU
        GHVLUDELOLW\WKHUHRIDQG

        )857+(55(62/9('WKDWWKHDFWLRQVRIDQ\'HVLJQDWHG2IILFHUWDNHQSXUVXDQW
        WRWKHSUHFHGLQJUHVROXWLRQLQFOXGLQJWKHH[HFXWLRQDFNQRZOHGJPHQWGHOLYHU\DQG
        YHULILFDWLRQRIWKH3HWLWLRQDQGDOODQFLOODU\GRFXPHQWVDQGDOORWKHUDJUHHPHQWV
        FHUWLILFDWHV LQVWUXPHQWV JXDUDQWLHV QRWLFHV DQG RWKHU GRFXPHQWV VKDOO EH
        FRQFOXVLYH HYLGHQFH RI VXFK 'HVLJQDWHG 2IILFHU V DSSURYDO DQG WKH QHFHVVLW\ RU
        GHVLUDELOLW\WKHUHRI

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        5(62/9('WKDWWKH&RPSDQ\DVGHEWRUDQGGHEWRULQSRVVHVVLRQXQGHUFKDSWHU
        RIWKH%DQNUXSWF\&RGHVKDOOEHDQGLWKHUHE\LVDXWKRUL]HGWR D HQWHULQWR
        D QHZ GHEWRU LQ SRVVHVVLRQ IDFLOLW\ WKH ',3 )DFLOLW\  DQG DQ\ DVVRFLDWHG
        GRFXPHQWVDQGFRQVXPPDWHWKHWUDQVDFWLRQVFRQWHPSODWHGWKHUHLQ FROOHFWLYHO\WKH
        ',3 )DFLOLW\ 7UDQVDFWLRQV  ZLWK VXFK OHQGHUV DQG RQ VXFK WHUPV VXEVWDQWLDOO\
        FRQVLVWHQWZLWKWKRVHSUHVHQWHGWRWKH0HPEHURQRUSULRUWRWKHGDWHKHUHRIDQGDV
        PD\ EH IXUWKHU DSSURYHG PRGLILHG RU DPHQGHG E\ DQ\ RQH RU PRUH RI WKH
        'HVLJQDWHG2IILFHUVDVPD\EHUHDVRQDEO\QHFHVVDU\RUGHVLUDEOHIRUWKHFRQWLQXLQJ
        FRQGXFWRIWKHDIIDLUVRIWKH&RPSDQ\DQG E SD\UHODWHGIHHVDQGJUDQWVHFXULW\
        LQWHUHVWVLQDQGOLHQVXSRQVRPHDOORUVXEVWDQWLDOO\DOORIWKH&RPSDQ\ VDVVHWVLQ
        VXFK FDVH DV PD\ EH GHHPHG QHFHVVDU\ RU GHVLUDEOH E\ DQ\ RQH RU PRUH RI WKH
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        )857+(55(62/9('WKDW D WKH'HVLJQDWHG2IILFHUVVKDOOEHDQGHDFKRI
        WKHPDFWLQJDORQHKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGLQWKHQDPHRIDQGRQ
        EHKDOIRIWKH&RPSDQ\DVGHEWRUDQGGHEWRULQSRVVHVVLRQWRWDNHVXFKDFWLRQV
        DQG H[HFXWH DFNQRZOHGJH GHOLYHU DQG YHULI\ VXFK DJUHHPHQWV FHUWLILFDWHV
        LQVWUXPHQWV JXDUDQWLHV QRWLFHV DQG DQ\ DQG DOO RWKHU GRFXPHQWV DV DQ\ RI WKH
        'HVLJQDWHG 2IILFHUV PD\ GHHP QHFHVVDU\ RU DSSURSULDWH WR IDFLOLWDWH WKH ',3
        )DFLOLW\7UDQVDFWLRQV FROOHFWLYHO\WKH',3)DFLOLW\'RFXPHQWV  E ',3)DFLOLW\
        'RFXPHQWV FRQWDLQLQJ VXFK SURYLVLRQV WHUPV FRQGLWLRQV FRYHQDQWV ZDUUDQWLHV
        DQG UHSUHVHQWDWLRQV DV PD\ EH GHHPHG QHFHVVDU\ RU GHVLUDEOH E\ DQ\ RI WKH
        'HVLJQDWHG2IILFHUV DUH KHUHE\ DSSURYHG DQG F  WKHDFWLRQV RI DQ\ 'HVLJQDWHG
        2IILFHUWDNHQSXUVXDQWWRWKLVUHVROXWLRQLQFOXGLQJWKHH[HFXWLRQDFNQRZOHGJPHQW
        GHOLYHU\ DQG YHULILFDWLRQ RI DOO DJUHHPHQWV FHUWLILFDWHV LQVWUXPHQWV JXDUDQWLHV
        QRWLFHV DQG RWKHU GRFXPHQWV VKDOO EH FRQFOXVLYH HYLGHQFH RI VXFK 'HVLJQDWHG
        2IILFHU VDSSURYDOWKHUHRIDQGWKHQHFHVVLW\RUGHVLUDELOLW\WKHUHRI

5HVWUXFWXULQJ6XSSRUW$JUHHPHQW

        5(62/9('WKDWWKH&RPSDQ\DVGHEWRUDQGGHEWRULQSRVVHVVLRQXQGHUFKDSWHU
        RIWKH%DQNUXSWF\&RGHVKDOOEHDQGLWKHUHE\LVDXWKRUL]HGWR D HQWHULQWR
        WKH5HVWUXFWXULQJ6XSSRUW$JUHHPHQWEHWZHHQWKHGHEWRUVDQGWKHSDUWLHVWKHUHWR
        DQGDQ\DVVRFLDWHGGRFXPHQWV WKH56$ DQGFRQVXPPDWHDQGSHUIRUPXQGHU

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Case 18-22032-JAD         Doc 35    Filed 05/18/18 Entered 05/18/18 17:29:08                 Desc Main
                                   Document     Page 10 of 19



        WKH WUDQVDFWLRQV FRQWHPSODWHG WKHUHLQ DQG RQ VXFK WHUPV VXEVWDQWLDOO\ FRQVLVWHQW
        ZLWKWKRVHSUHVHQWHGWRWKH0HPEHURQRUSULRUWRWKHGDWHKHUHRIDQGDVPD\EH
        IXUWKHU DSSURYHG PRGLILHG RU DPHQGHG E\ DQ\ RQH RU PRUH RI WKH 'HVLJQDWHG
        2IILFHUVDVPD\EHUHDVRQDEO\QHFHVVDU\RUGHVLUDEOHIRUWKHFRQWLQXLQJFRQGXFWRI
        WKHDIIDLUVRIWKH&RPSDQ\DQG E SD\UHODWHGIHHVDQGH[SHQVHVDVPD\EHGHHPHG
        QHFHVVDU\RUGHVLUDEOHE\DQ\RQHRUPRUHRIWKH'HVLJQDWHG2IILFHUVLQFRQQHFWLRQ
        ZLWKWKH56$

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        XQGHUFKDSWHURIWKH%DQNUXSWF\&RGHVKDOOEHDQGLWKHUHE\LVDXWKRUL]HGWR
         D H[HFXWHDQGILOHDFKDSWHUSODQ WKH3ODQ DVVRFLDWHGGLVFORVXUHVWDWHPHQW
         WKH'LVFORVXUH6WDWHPHQW DQGDQ\DVVRFLDWHGGRFXPHQWVDQGFRQVXPPDWHDQG
        SHUIRUPXQGHUWKHWUDQVDFWLRQVFRQWHPSODWHGWKHUHLQRQVXFKWHUPVVXEVWDQWLDOO\
        FRQVLVWHQWZLWKWKRVHSUHVHQWHGWRWKH0HPEHURQRUSULRUWRWKHGDWHKHUHRIDQGDV
        PD\ EH IXUWKHU DSSURYHG PRGLILHG RU DPHQGHG E\ DQ\ RQH RU PRUH RI WKH
        'HVLJQDWHG2IILFHUVDVPD\EHUHDVRQDEO\QHFHVVDU\RUGHVLUDEOHIRUWKHFRQWLQXLQJ
        FRQGXFWRIWKHDIIDLUVRIWKH&RPSDQ\DQG E SD\UHODWHGIHHVDVPD\EHGHHPHG
        QHFHVVDU\RUGHVLUDEOHE\DQ\RQHRUPRUHRIWKH'HVLJQDWHG2IILFHUVLQFRQQHFWLRQ
        ZLWKWKH3ODQRU'LVFORVXUH6WDWHPHQWDQG

        )857+(55(62/9('WKDW D WKH'HVLJQDWHG2IILFHUVVKDOOEHDQGHDFKRI
        WKHPDFWLQJDORQHKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGLQWKHQDPHRIDQGRQ
        EHKDOIRIWKH&RPSDQ\DVGHEWRUDQGGHEWRULQSRVVHVVLRQWRWDNHVXFKDFWLRQV
        DQG H[HFXWH DFNQRZOHGJH GHOLYHU DQG YHULI\ WKH 56$ WKH 3ODQ DQG 'LVFORVXUH
        6WDWHPHQW DQG VXFK DJUHHPHQWV FHUWLILFDWHV QRWLFHV DQG DQ\ DQG DOO RWKHU
        GRFXPHQWVDVDQ\RIWKH'HVLJQDWHG2IILFHUVPD\GHHPQHFHVVDU\RUDSSURSULDWH
        LQ FRQQHFWLRQ ZLWK WKH 56$ WKH 3ODQ WKH 'LVFORVXUH 6WDWHPHQW DQG DQ\ RWKHU
        UHODWHG GRFXPHQWV WKH 5HVWUXFWXULQJ 'RFXPHQWV  E  WKH 5HVWUXFWXULQJ
        'RFXPHQWV FRQWDLQLQJ VXFK SURYLVLRQV WHUPV FRQGLWLRQV FRYHQDQWV ZDUUDQWLHV
        DQG UHSUHVHQWDWLRQV DV PD\ EH GHHPHG QHFHVVDU\ RU GHVLUDEOH E\ DQ\ RI WKH
        'HVLJQDWHG2IILFHUVDUHKHUHE\DSSURYHG F WKH'HVLJQDWHG2IILFHUVVKDOOEHDQG
        HDFKRIWKHPDFWLQJDORQHKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGLQWKHQDPHRI
        DQGRQEHKDOIRIWKH&RPSDQ\DVGHEWRUDQGGHEWRULQSRVVHVVLRQWRDXWKRUL]H
        FRXQVHOWRGUDIWILOHDQGVHHNDSSURYDORIWKH5HVWUXFWXULQJ'RFXPHQWVLQFOXGLQJ
        DSSURYDO RI WKH 'LVFORVXUH 6WDWHPHQW DQG FRQILUPDWLRQ RI WKH 3ODQ DQG G  WKH
        DFWLRQVRIDQ\'HVLJQDWHG2IILFHUWDNHQSXUVXDQWWRWKLVUHVROXWLRQLQFOXGLQJWKH
        H[HFXWLRQ DFNQRZOHGJPHQW GHOLYHU\ DQG YHULILFDWLRQ RI DOO DJUHHPHQWV
        FHUWLILFDWHV LQVWUXPHQWV JXDUDQWLHV QRWLFHV DQG RWKHU GRFXPHQWV VKDOO EH
        FRQFOXVLYHHYLGHQFHRIVXFK'HVLJQDWHG2IILFHU VDSSURYDOWKHUHRIDQGWKHQHFHVVLW\
        RUGHVLUDELOLW\WKHUHRI

5HWHQWLRQRI3URIHVVLRQDOVDQG&ODLPVDQG1RWLFLQJ$JHQW

        5(62/9('WKDWWKH'HVLJQDWHG2IILFHUVVKDOO EHDQGHDFKRIWKHP KHUHE\LV
        DXWKRUL]HGDQGHPSRZHUHGWRUHWDLQRQEHKDOIRIDQGLQWKHQDPHRIWKH&RPSDQ\
         D -RQHV 'D\ E  %XFKDQDQ ,QJHUVROO  5RRQH\ 3& F  3HUHOOD :HLQEHUJ
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Case 18-22032-JAD           Doc 35    Filed 05/18/18 Entered 05/18/18 17:29:08                      Desc Main
                                     Document     Page 11 of 19



        SURIHVVLRQDOV LQFOXGLQJ DWWRUQH\V DFFRXQWDQWV ILQDQFLDO DGYLVRUV LQYHVWPHQW
        EDQNHUVDFWXDULHVFRQVXOWDQWVRUEURNHUVLQHDFKFDVHDVLQDQ\VXFK'HVLJQDWHG
        2IILFHU VMXGJPHQWPD\EHQHFHVVDU\RUGHVLUDEOHLQFRQQHFWLRQZLWKWKH&RPSDQ\ V
        FKDSWHUFDVHDQGRWKHUUHODWHGPDWWHUVRQVXFKWHUPVDVVXFKRIILFHURURIILFHUV
        VKDOO DSSURYH DQG VXFK 'HVLJQDWHG 2IILFHU V UHWHQWLRQ WKHUHRI WR FRQVWLWXWH
        FRQFOXVLYHHYLGHQFHRIVXFK'HVLJQDWHG2IILFHU VDSSURYDODQGWKHQHFHVVLW\DQG
        GHVLUDELOLW\WKHUHRIDQG

        )857+(55(62/9('WKDWWKHODZILUP-RQHV'D\DQGWKHODZILUP%XFKDQDQ
        ,QJHUVROO 5RRQH\3&DQGDQ\DGGLWLRQDOVSHFLDORUORFDOFRXQVHOVHOHFWHGE\WKH
        'HVLJQDWHG2IILFHUVLIDQ\VKDOOEHDQGKHUHE\DUHDXWKRUL]HGDQGHPSRZHUHGWR
        UHSUHVHQWWKH&RPSDQ\DVGHEWRUDQGGHEWRULQSRVVHVVLRQLQFRQQHFWLRQZLWKDQ\
        FKDSWHUFDVHFRPPHQFHGE\RUDJDLQVWLWXQGHUWKH%DQNUXSWF\&RGH

$GGLWLRQDO5HVROXWLRQV

        5(62/9('WKDWLQDGGLWLRQWRWKHVSHFLILFDXWKRUL]DWLRQVKHUHWRIRUHFRQIHUUHG
        XSRQ WKH 'HVLJQDWHG 2IILFHUV HDFK RI WKH RIILFHUV RI WKH &RPSDQ\ RU WKHLU
        GHVLJQHHV VKDOO EH DQG HDFK RI WKHP DFWLQJ DORQH KHUHE\ LV DXWKRUL]HG DQG
        HPSRZHUHGLQWKHQDPHRIDQGRQEHKDOIRIWKH&RPSDQ\WRWDNHRUFDXVHWREH
        WDNHQ DQ\ DQG DOO VXFK IXUWKHU DFWLRQV WR H[HFXWH DQG GHOLYHU DQ\ DQG DOO VXFK
        DJUHHPHQWVFHUWLILFDWHVLQVWUXPHQWVDPHQGPHQWVDQGRWKHUGRFXPHQWVDQGWRSD\
        DOO H[SHQVHV LQFOXGLQJ ILOLQJ IHHV LQ HDFK FDVH DV LQ VXFK RIILFHU V RU RIILFHUV 
        MXGJPHQWVKDOOEHQHFHVVDU\RUGHVLUDEOHLQRUGHUIXOO\WRFDUU\RXWWKHLQWHQWDQG
        DFFRPSOLVKWKHSXUSRVHVRIWKHUHVROXWLRQVDGRSWHGKHUHLQ

        )857+(55(62/9('WKDWDOODFWVODZIXOO\GRQHRUDFWLRQVODZIXOO\WDNHQRUWR
        EHWDNHQE\DQ\RIILFHURURIILFHUVRIWKH&RPSDQ\LQFRQQHFWLRQZLWKDQ\RIWKH
        IRUHJRLQJPDWWHUVLQDOOUHVSHFWVDUHKHUHE\UDWLILHGFRQILUPHGDQGDSSURYHGDQG

        )857+(55(62/9('WKDWDQ\'HVLJQDWHG2IILFHUVKDOOEHDQGHDFKRIWKHP
        DFWLQJDORQHKHUHE\LVDXWKRUL]HGWRFHUWLI\DQGGHOLYHUWRDQ\SHUVRQWRZKRP
        VXFK FHUWLILFDWLRQ DQG GHOLYHU\ PD\ EH GHHPHG QHFHVVDU\ RU DSSURSULDWH LQ WKH
        RSLQLRQRIVXFK'HVLJQDWHG2IILFHUDWUXHFRS\RIWKHIRUHJRLQJUHVROXWLRQV

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                                   Document     Page 12 of 19




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            Case 18-22032-JAD                 Doc 35       Filed 05/18/18 Entered 05/18/18 17:29:08                                   Desc Main
                                                          Document     Page 14 of 19

 Fill in this information to identify the case and this filing:

 Debtor Name R.E. Gas Development, LLC, et al.

 United States Bankruptcy Court for the: Western District of Pennsylvania

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 Case Number (if known): _____________

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Case 18-22032-JAD      Doc 35    Filed 05/18/18 Entered 05/18/18 17:29:08   Desc Main
                                Document     Page 17 of 19




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Case 18-22032-JAD             Doc 35     Filed 05/18/18 Entered 05/18/18 17:29:08                       Desc Main
                                        Document     Page 18 of 19



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Case 18-22032-JAD      Doc 35    Filed 05/18/18 Entered 05/18/18 17:29:08   Desc Main
                                Document     Page 19 of 19




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